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                   BEFORE THE UNITED STATES JUDICIAL PANEL ON
                            MULTIDISTRICT LITIGATION


IN RE: COVID-19 BUSINESS                             MDL No. 2942
INTERRUPTION PROTECTION
INSURANCE LITIGATION




     Interested Parties Westchester Surplus Lines Insurance Company and Indemnity
              Insurance Company of North America’s Response to Plaintiffs’
     Motions for Transfer and Coordination or Consolidation Under 28 U.S.C. § 1407

       Interested parties Westchester Surplus Lines Insurance Company (“Westchester”) and

Indemnity Insurance Company of North America (“IINA”)1 oppose Plaintiffs’ Motion for

Transfer and Coordination or Consolidation Under 28 U.S.C. § 1407 (Dkt. 1) and Subsequent

Motion for Transfer of Actions Under 28 U.S.C. § 1407 for Coordinated or Consolidated Pretrial

Proceedings (Dkt. 4), and all papers filed in support or partial support of those motions (Dkts. 9,

19, 169, 184, 189, 369) (collectively, the “Motions”).

I.     INTRODUCTION

       An MDL requires common facts that can be efficiently addressed in a combined

proceeding. But the plaintiffs themselves cannot agree on the purportedly common facts that

would warrant consolidation, or even whether an MDL is appropriate. Some moving plaintiffs

allege that the presence of the coronavirus at their business sites caused physical loss or property

damage (e.g., Dkt. 12-1 & case no. 1:20-cv-21641, Dkt. 1 at ¶ 43); others allege that

government-mandated precautionary measures to prevent the future spread of disease, not the

virus itself, caused their purported losses (e.g., Dkt. 10-4 at ¶ 46). Yet those governmental orders



1
 Westchester and IINA each is a defendant to two potential tag-along actions. (Dkts. 10, 12,
179, 335.)
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have varied across the nation—a patchwork approach that has been described as a “hodgepodge”

(USA Today), a “mishmash” (CNN), a “scattershot effort” (Politico), a “crazy quilt” (Bulletin of

the Atomic Scientists), and a “jumble of half measures” (New York Times).

         MDLs involving multiple defendants are rare. MDLs formed to resolve insurance

coverage cases against multiple defendants are even rarer.2 And MDLs in which no defendant is

a party to more than a small percentage of cases are unprecedented. The cases movants seek to

consolidate here show why. They involve insurance contract disputes with more than 100

different insurers that issued different individually underwritten policies with different wording

to different policyholders with different businesses—ranging from restaurants, to nightclubs, to

dental practices, to marketing firms—that were affected differently by different “stay at home”

orders issued by different governmental authorities in different jurisdictions. Each plaintiff

asserts claims only against the insurer that issued that plaintiff’s policy. Aside from plaintiffs

purporting to sue two or more defendants in the same insurance group3 on the same policy, there

are no multi-defendant actions. Most insurers, like Westchester and IINA, are a defendant to no

more than two of the more than 130 actions.4 Even within the policies issued by a single insurer,


2
  Although insurance coverage claims have in rare cases been transferred to a preexisting MDL,
Westchester and IINA are aware of only two MDLs formed to resolve coverage claims, and none
in the last quarter-century. See In re White Consol. Indus., Inc., Envtl. Ins. Coverage Litig., 1994
WL 52568, at *1 (J.P.M.L. Feb. 16, 1994) (involving two actions by one plaintiff against the
same three insurance companies based on the same insurance policies); In re Texas E.
Transmission Corp. PCB Contamination Ins. Coverage Litig., 1988 U.S. Dist. LEXIS 17043, at
*1 (J.P.M.L. May 31, 1988) (involving two actions against multiple insurers, one of which was a
defendant in both actions).
3
    Westchester and IINA, for example, both are affiliates of Chubb.
4
  Of the approximately 116 insurer defendants, 93, or 80%, are a defendant to only one or two of
the 133 actions: 75 are a defendant to one action and 18 are a defendant to two actions. Only 6,
or 5% of all defendants, are a defendant to more than 5 actions.
The point does not change materially when the cases are evaluated by insurer group: of the
approximately 36 insurer groups, 21 have an affiliated company named as a defendant to only


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there are different terms, conditions, exclusions and endorsements—some that contain a “virus

exclusion” and some that contain other terms and exclusions that may apply to claims related to

COVID-19. And, contrary to movants’ assertion, the resolution of the different plaintiffs’

insurance coverage claims under each individually underwritten and separately issued policy will

require a series of individualized assessments based on the specific language of each policy as

applied to the facts unique to each policyholder under the insurance laws of each state.5 Even

many plaintiffs agree: more than 50 have said so in response to the Motions, vehemently

opposing an MDL.

       Transfer would not promote efficiency or conserve resources. It would uproot localized

disputes, complicate rather than simplify discovery, prolong rather than streamline pretrial

proceedings, and create one massive docket that could not conceivably be managed efficiently or

effectively by a single federal judge. These cases do not satisfy the standards for an MDL.

II.    BACKGROUND

       On April 20 and April 21, 2020, movants filed two motions to transfer and consolidate

several cases (together with potential tag-along actions, the “Actions”) in which various types of

businesses seek business interruption insurance coverage for alleged losses related to COVID-19.

The Actions assert claims against approximately 116 different insurers, each of which issued

separate policies to separate insureds.

       The following potential tag-along actions each names one of Westchester or IINA as a

defendant:




one or two actions. Only 6 have an affiliated company named as a defendant to more than 5 of
the 133 actions.
5
 Even if the insurers contend there is no coverage based on plaintiffs’ allegations, resolution of
plaintiffs’ claims will involve individualized issues.


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 Defendant     Case Name                  Case number       Court       Judge                  MDL
                                                                                               Dkt.
 Westchester Cafe Int’l Holding           1:20-cv-          S.D. Fla. Marcia G. Cooke          12
             Co. LLC v. Chubb             21641
             Ltd. and Westchester
             Surplus Lines Ins. Co.
 Westchester The K’s Inc. v.              1:20-cv-          N.D.        William M. Ray, II 335
             Westchester Surplus          01724             Ga.
             Lines Ins. Co.
 IINA          Truhaven Enters., Inc. 2:20-cv-              D.N.J.      Stanley R. Chesler     10
               d/b/a Fiorino          04586
               Ristorante v. Chubb
               Ltd. and Indem. Ins.
               Co. of N. Am.
 IINA          Beniak Enters., Inc. v.    2:20-cv-          D.N.J.      Kevin McNulty          179
               Chubb Ltd. and             05536
               Indem. Ins. Co. of N.
               Am.

        The plaintiffs in these actions allege entirely different theories of loss: the Cafe

International and The K’s plaintiffs allege that “[t]he presence of COVID-19 caused direct

physical loss of and/or damage to the covered premises,” (see Dkt. 12-1 & case no. 1:20-cv-

21641, Dkt. 1 at ¶ 43; Dkt. 335-3 at ¶ 31), while the Truhaven and Beniak plaintiffs claim that

“losses were not caused by a ‘virus, bacterium or other microorganism that induces or is capable

of inducing physical distress, illness or disease,’” but were instead caused by “precautionary

measures taken by [the state] to prevent the spread of COVID-19 in the future.” (Dkt. 10-4 at

¶ 46; Dkt 179-3 at ¶ 49.)

III.    ARGUMENT

        To justify an MDL, movants must show that (1) the Actions share sufficient common

questions of fact, (2) transfer would be for the convenience of the parties and witnesses, and

(3) transfer would advance the just and efficient conduct of the Actions. 28 U.S.C. § 1407(a); In

re Highway Accident Near Rockville, Conn., on Dec. 30, 1972, 388 F. Supp. 574, 575 (J.P.M.L.



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1975) (“Before transfer will be ordered, the Panel must be satisfied that all of the statutory

criteria have been met.”); see also Manual for Complex Litigation § 20.131 (4th ed. 2004),

available at https://public.resource.org/scribd/8763868.pdf (“The objective of transfer is to

eliminate duplication in discovery, avoid conflicting rulings and schedules, reduce litigation cost,

and save time and effort of the parties, the attorneys, the witnesses, and the courts.”). Because

movants cannot satisfy any of these requirements, and because an MDL would hinder rather than

further the objectives of transfer, the Motions should be denied.

        A.      Movants Have Failed to Demonstrate Sufficient Common Questions of Fact

        To warrant centralization, it is not enough for movants to show some “common legal

questions and, perhaps, a few factual questions.” In re Pharmacy Benefit Plan Adm’rs Pricing

Litig., 206 F. Supp. 2d 1362, 1363 (J.P.M.L. 2002). Movants bear “a heavy burden to show that

[the] common questions of fact are sufficiently complex and that the accompanying discovery

will be so time-consuming as to justify transfer under Section 1407.” In re 21st Century Prods.,

Inc. “Thrilsphere” Contract Litig., 448 F. Supp. 271, 273 (J.P.M.L. 1978). Movants fail to

satisfy this standard.

                1.       The Actions Involve Different Policies with Different Provisions
                         Issued by Different Insurers to Different Policyholders

        Movants claim there are “great similarities and standard or near-standard terms across all

the property insurance policies at issue,” (Dkt. 4 at 5), but the complaints make clear that the

policies contain variations that policyholders likely will argue—and indeed, some already have

argued6—matter. For example:

            Virus exclusion. The policies issued by IINA in the Truhaven and Beniak cases

6
 In their opposition to the Motions, the “Big Onion Plaintiffs” argue: “Although [movants]
attempt to characterize the differences in policy language to be ‘slight,’ [Dkt. 1 at 8], this is
grossly misleading and fails to account for the fact that coverage questions often turn on slight
differences in policy language.” (See Dkt. 198 at 8-9; see also id. at 13-15.)


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            contain a virus exclusion, while other policies do not. (See Dkt. 10-4 at ¶ 46; Dkt.
            179-3 at ¶ 49.)

           Pandemic endorsement. Some policies contain a pandemic endorsement while
            other policies do not. (See Dkt. 4-18 at ¶ 7.)

           Business income coverage. Some policies provide business income coverage if
            (among other things) the suspension of operations is caused by “direct physical loss
            or direct physical damage to property,” (see Dkt. 12-3 & case no. 2:20-cv-02034 at
            Dkt. 1-1), while others provide business income coverage if (among other things) the
            suspension of operations is “caused by direct physical loss of or damage to property”
            (see Dkt. 1-8 & case no. 1:20-cv-21525 at Dkt. 1-2; Dkt. 1-9 & case no. 1:20-cv-
            03107 at Dkt. 1-1). Some policies issued by other insurers provide business income
            coverage if (among other things) the suspension of operations is “caused by direct
            ‘loss’ to property” and define “loss” separately. (See Dkt. 4-14 & case no. 1:20-cv-
            00312 at Dkt. 1-2.)

           Civil authority coverage. Some policies provide civil authority coverage if (among
            other things) “a Covered Cause of Loss causes damage to property other than
            property at the described premises,” (see Dkt. 1-8 & case no. 1:20-cv-21525 at Dkt.
            1-2; Dkt. 1-9 & case no. 1:20-cv-03107 at Dkt. 1-1), while other policies provide
            civil authority coverage if (among other things) the prohibition of access to property
            is “due to direct physical ‘loss’ to property, other than at the ‘premises’” (see Dkt. 4-
            11 & case no. 1:20-cv-02160 at Dkt. 1-1).

           Civil authority coverage area. Some policies provide civil authority coverage if
            (among other things) the covered premises are “within the area” of damaged
            property, (see Dkt. 1-7 & case no. 1:20-cv-02005 at Dkt. 1-3; Dkt. 1-10 & case no.
            2:20-cv-00623 at Dkt. 1-1), while others provide civil authority coverage if (among
            other things) the covered premises are “within [the] area but [] not more than 100
            miles” from damaged property, (see Dkt. 29-4 & case no. 4:20-cv-01478 at Dkt. 1-
            2), and still others provide civil authority coverage if (among other things) the
            covered premises are “within [the] area but [] not more than one mile” from
            damaged property (see Dkt. 12-3 & case no. 2:20-cv-02034 at Dkt. 1-1).

           Ordinance or law exclusion. Some policies contain an ordinance or law exclusion,
            but other policies have modifications to this exclusion through an endorsement. (See
            Dkt. 1-10 & case no. 2:20-cv-00623, Dkt. 1-6.)

           State-specific terms. Nearly all policies have state-specific endorsements that
            change the terms of the policies.

       Because the Actions involve several different insurers, each of which sold different

insurance policies to different insureds, there are insufficient common questions of fact to




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warrant consolidation. At least 55 plaintiffs to the Actions already have said that they agree.

(See Dkt. 198 at 2, 6 (arguing that “[a]ll 83-some lawsuits seek to recover losses pursuant to

unique circumstances present at each insured’s specific location, under terms and conditions of

different insurance policies issued by different insurers under different states’ laws” and

“granting the Motions would do more harm than good”).) Additionally, United Policyholders,

which has a self-described mission of serving “as an effective voice for a broad range of

insurance policyholders . . . throughout the United States,” acknowledged in an amicus brief

opposing consolidation of Pennsylvania state court cases involving COVID-19-related business

interruption claims that there are “thousands of different insurance policy iterations in

Pennsylvania alone” and that those policies are “varied in their language, scope, and covered

risks.” (See 5/15/20 Application of United Policyholders for Leave to Submit Amicus Curiae

Brief in Opposition to the Emergency Application for Extraordinary Relief, filed in Tambellini v.

Erie Ins. Exch., PA. Sup. Ct. No. 52 WM 2020, at 1, 5, attached as Ex. A.) United Policyholders

argued, inter alia, that findings in one insured’s case likely could not be extrapolated to a

different insured’s case, and consolidation likely would be less efficient than permitting cases to

proceed separately, in the jurisdictions in which they are filed. (Id. at 5-8, 19-21.) Although it

ruled before receiving United Policyholders’ amicus brief, the Pennsylvania Supreme Court

denied the plaintiff’s request to consolidate cases before a single judge or group of judges. (See

5/14/20 Order Denying Application for Extraordinary Relief, issued in Tambellini v. Erie Ins.

Exch., PA. Sup. Ct. No. 52 WM 2020, attached as Ex. B.)

       This Panel, likewise, routinely has rejected motions to transfer in similar circumstances.

See In re: The Great West Cas. Co. Ins. Litig., 176 F. Supp. 3d 1371, 1371 (J.P.M.L. 2016)

(denying motion to transfer actions against insurance company because the actions “involve no




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common factual issues aside from the broad fact that, in each action, a common insurance

company has denied coverage of an insurance claim”); In re Ins. Cos. “Silent” Preferred

Provider Org. (PPO) Litig., 517 F. Supp. 2d 1362, 1363 (J.P.M.L. 2007) (denying motion to

transfer because actions were “against different defendant insurance companies and involve[d]

different contracts”); In re: Mortgage Indus. Home Affordable Modification Program (HAMP)

Contract Litig., 867 F. Supp. 2d 1338, 1338 (J.P.M.L. 2012) (denying motion to transfer

industry-wide mortgage misconduct cases because circumstances surrounding each loan’s

history were different and there were “many different non-overlapping defendants”); In re:

Credit Card Payment Protection Plan Mktg. and Sales Practices Litig., 753 F. Supp. 2d 1375,

1375 (J.P.M.L. 2010) (denying motion to transfer due to insufficient common questions of fact

where “each defendant appears to have offered several different products, which were marketed

in different ways and subject to different disclosures”); In re Florida, Puerto Rico, and U.S.

Virgin Islands 2016 and 2017 Hurricane Seasons Flood Claims Litig., 325 F. Supp. 3d 1367,

1368 (J.P.M.L. 2018) (denying motion to transfer because “[t]hese actions possess only a

superficial factual commonality—all plaintiffs allege that they suffered property damage as a

result of one or another of several hurricanes, and that their respective insurance companies

breached the terms of plaintiffs’ policies by settling plaintiffs’ claims for amounts lower than the

losses actually sustained”).

               2.      Policyholders Have Argued That Different States May Interpret
                       Common Insurance Terms Differently Under Their Different Laws

       The existence of some similarly worded contractual terms alone does not create common

issues of fact justifying consolidation. Where plaintiffs’ claims implicate a patchwork of

regulatory and legal landscapes, the Panel does not hesitate to deny transfer and consolidation.

See In re Title Ins. Real Estate Settlement Procedures Act (RESPA) & Antitrust Litig., 560 F.



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Supp. 2d 1374, 1376 (J.P.M.L. 2008) (denying motion to transfer because actions “encompass

different regulatory regimes in the states in which actions are pending along with variances in

insurance regulation and law in each state”).

          Policyholders have argued that different courts should interpret the same policy language

differently, based on different states’ rules of contract construction.7 Plaintiffs opposing

consolidation argue there are several examples, although not at issue in these coverage cases, that

illustrate this fact: “courts around the country have reached vastly different determinations on

the proper interpretation of so-called ‘common’ policy provisions like the ‘pollution exclusion,’

the ‘flood exclusion,’ and the definition of the word ‘occurrence,’ when applied to disasters like

Hurricane Andrew, Hurricane Katrina, and 9/11 or long-tail exposures like asbestos and

environmental litigation.” (Dkt. 198 at 5.) To plaintiffs’ point on the pollution exclusion in

many liability policies not at issue in these coverage cases, for example, the California Supreme

Court noted, “[t]o say there is a lack of unanimity as to how the clause should be interpreted is an

understatement.” MacKinnon v. Truck Ins. Exch., 31 Cal. 4th 635, 641 (2003).8

          Here, too, plaintiffs have argued that different states’ laws could lead courts to differently

interpret the same or similar policy terms in different insureds’ policies. (See Dkt. 198 at 5, 16.)

Regardless, each claim will need to be analyzed on a state-by-state and policy-by-policy basis,

and consolidation would not streamline these cases. See In re: Mortgage Indus. Foreclosure

Litig., 996 F. Supp. 2d 1379, 1379-80 (J.P.M.L. 2014) (denying motion to transfer because


7
    Insurers, of course, may disagree with this argument.
8
 Insurance regulations also materially vary across states. New Jersey, for example, requires
insurers to acknowledge claims within 10 working days and report on their investigation 30 days
after receiving proof of loss and every 45 days thereafter. See N.J. Admin. Code tit. 11, §§ 2-
17.6, 2.17.7. Massachusetts, on the other hand, requires only that insurers promptly
acknowledge claims and report on their investigation within a reasonable time. See Mass. Gen.
Laws. ch. 176D, § 3(9).


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actions involved “contractual interpretation questions under different state laws”); In re: Honey

Prod. Mktg. and Sales Practices Litig., 883 F. Supp. 2d 1333, 1333 (J.P.M.L. 2012) (denying

motion to transfer because actions involved “different defendants, marketing different honey

products, and involve[d] different state regulations subject to different legal challenges by the

defendants”).

                3.      Governmental Orders Related to COVID-19—and Their Alleged
                        Impact on Each Policyholder—Differ Significantly

        Movants argue that these Actions will require a common determination of “whether the

various COVID-19 Governmental Orders trigger coverage under plaintiffs’ business interruption

policies and if so, whether any exclusions apply.” (Dkt. 1-1 at 7.) But the governmental orders

vary significantly from state to state, county to county, and city to city, as does their impact on

different insureds’ different businesses. As a result, “facts relating to regulation . . . and

plaintiffs’ remediation efforts is [sic] likely to differ significantly.” See In re Monsanto PCB

Water Contamination Litig., 176 F. Supp. 3d 1379, 1380 (J.P.M.L. 2016) (denying motion to

transfer).

        Governmental orders during this crisis have been anything but consistently worded and

uniformly applied. Even within the same state, orders have varied. And in some cases, the

specific orders themselves have required clarification. In Orange County, California, for

example, the Board of Supervisors issued a March 17, 2020 order prohibiting all non-essential

public and private gatherings outside a household—only to revise it, a day later, specifying that

“nothing in this document prohibits businesses and other entities from operating within Orange




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County.”9 Similarly, in an April 1, 2020 order, Texas Gov. Greg Abbott directed residents to

“minimize” social gatherings and in-person contact—only to release a follow-up video spelling

out that his order “requires” Texans to stay home except to provide essential services or procure

essential goods.10

       Some states (such as Pennsylvania, where sixteen Actions have been filed11) have

ordered all non-essential businesses to remain closed, while others (such as Ohio, where four

Actions have been filed12) have permitted non-essential businesses to reopen with reduced

capacity, and still others (such as Nebraska and South Dakota) have implemented no restrictions



9
 Rob Vardon, “Orange County revises coronavirus order in effort to ease confusion,” Daily
Pilot, March 18, 2020, available at https://www.latimes.com/socal/daily-pilot/news/story/2020-
03-18/orange-county-revises-coronavirus-order-in-effort-to-ease-confusion.
10
  “Gov. Abbott must clarify his coronavirus order to end confusion,” Dallas Morning News,
April 1, 2020, available at https://www.dallasnews.com/opinion/editorials/2020/04/01/gov-
abbott-must-clarify-his-coronavirus-order-to-end-confusion/.
11
  See (1) LH Dining L.L.C. v. Admiral Indem. Co., No. 2:20-cv-01869 (E.D. Pa.); (2) Newchops
Rest. Comcast LLC v. Admiral Indem. Co., No. 2:20-cv-01949 (E.D. Pa.); (3) Lansdale 329
Prop, LLC et al v. Hartford Underwriters Ins. Co. et al., No. 2:20-cv-02034 (E.D. Pa.); (4)
Milkboy Center City LLC v. The Cincinnati Ins. Co. et al., No. 2:20-cv-02036 (E.D. Pa.); (5) C.A
Spalding Co. v. Selective Ins. Group, Inc. et al., No. 2:20-cv-01967 (E.D. Pa.); (6) Chester Cnty.
Sports Arena v. The Cincinnati Specialty Underwriters Ins. Co., No. 2:20-cv-02021 (E.D. Pa.);
(7) Ian McCabe Studio, LLC et al. v. Erie Ins. Exch., No. 2:20-cv-01973 (E.D. Pa.); (8) Jul-Bur
Assocs. Inc. et al. v. Selective Ins. Co. of Am. et al., No. 2:20-cv-01977 (E.D. Pa.); (9)
Laudenback Periodontics and Dental Implants, Ltd. v. Liberty Mut. Ins. Group et al., No. 2:20-
cv-02029 (E.D. Pa.); (10) Big Red Mgmt. Corp. v. Zurich Am. Ins. Co., No. 20-cv-2113 (E.D.
Pa.); (11) Hair Studio 1208 LLC v. Hartford Underwriters Ins. Co., No. 2:20-cv-02171 (E.D.
Pa.); (12) Eric R. Shantzer, DDS v. Travelers Cas. Ins. Co. of Am., The Travelers Indem. Co.,
No. 2:20-cv-02093 (E.D. Pa.); (13) Humans & Resources, LLC v. Hartford Mut. Ins. Co., No.
2:20-cv-02152 (E.D. Pa.); (14) Sidkoff, Pincus & Green PC v. Sentinel Ins. Co., Ltd., No. 2:20-
cv-02083 (E.D. Pa.); (15) Jabz Chandler II LLC, et al. v. Philadelphia Ins. Cos., et al., No. 2:20-
cv-02341 (E.D. Pa.); (16) The Lock Loft, LLC v. Erie Ins. Prop. & Cas. Co., No. 1:20-cv-00122
(W.D. Pa.).
12
  See (1) Bridal Expressions LLC v. Owners Ins. Co., No. 1:20-cv-00833 (N.D. Ohio); (2) Troy
Stacy Enters. Inc. v. The Cincinnati Ins. Co., No. 1:20-cv-00312 (S.D. Ohio); (3) New Super
China Buffet, Inc. v. Grange Mut. Cas. Co., No. 2:20-cv-02264 (S.D. Ohio); (4) Taste of Belgium
LLC v. The Cincinnati Ins. Co., et al., No. 1:20-cv-00357 (S.D. Ohio).


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on non-essential businesses at all.13 Some states (such as Washington, where twenty Actions

have been filed14) have prohibited all public gatherings, while others (such as Arizona, where

one Action has been filed15) permit gatherings of ten people or fewer.16 Some states (such as

California, where six Actions have been filed17) have restricted restaurants to takeout and

delivery orders only, while others (such as Kansas, where one Action has been filed18) permit



13
  See “State Data and Policy Actions to Address Coronavirus,” Kaiser Family Foundation, April
30, 2020, available at https://www.kff.org/health-costs/issue-brief/state-data-and-policy-actions-
to-address-coronavirus/#note-1-5.
14
   See (1) Mikkelson v. Aspen Am. Ins. Co., No. 3:20-cv-05378 (W.D. Wash.); (2) Fox v.
Travelers Cas. Ins. Co. of Am., No. 2:20-cv-00598 (W.D. Wash.); (3) Nguyen v. Travelers Cas.
Ins. Co. of Am., No. 2:20-cv-00597 (W.D. Wash.); (4) Stan’s Bar-B-Q LLC v. The Charter Oak
Fire Ins. Co., No. 2:20-cv-00613 (W.D. Wash.); (5) Marler v. Aspen Am. Ins. Co., No. 2:20-cv-
00616 (W.D. Wash.); (6) Chorak v. Hartford Cas. Ins. Co., No. 2:20-cv-00627 (W.D. Wash.);
(7) Germack v. Dentists Ins. Co., No. 2:20-cv-00661 (W.D. Wash.); (8) Hsue v. Travelers Cas.
Ins. Co. of Am., No. 2:20-cv-00622 (W.D. Wash.); (9) Kashner v. Travelers Indem. Co. of Am.,
No. 2:20-cv-00625 (W.D. Wash.); (10) Kim v. Sentinel Ins. Co. Ltd., No. 2:20-cv-00657 (W.D.
Wash.); (11) Pacific Endodontics PS v. Ohio Cas. Ins. Co., No. 2:20-cv-00620 (W.D. Wash.);
(12) Prato v. Sentinel Ins. Co. Ltd., No. 3:20-cv-05402 (W.D. Wash.); (13) Andrew Lee, DDS v.
Sentinel Ins. Co., Ltd., No. 3:20-cv-05422 (W.D. Wash.); (14) Nue LLC d/b/a/ Nue Seattle v.
Oregon Mut. Ins. Co., No. 2:20-cv-00676 (W.D. Wash.); (15) Carlos O. Caballero DDS, MS, PS
v. Massachusetts Bay Ins. Co., No. 3:20-cv-05437 (W.D. Wash.); (16) Glow Medispa, LLC v.
Sentinel Ins. Co. Ltd.; No. 2:20-cv-00712 (W.D. Wash.); (17) Karla Aylen, DDS PLLC v. Aspen
Am. Ins. Co., No. 2:20-cv-00717 (W.D. Wash.); (18) Cascadia Dental Specialists Inc. v. Am.
Fire and Cas. Co.; No. 2:20-cv-00732 (W.D. Wash.); (19) Hirbod H. Rowshan DDS, P.S. v.
Ohio Security Ins. Co., No. 2:20-cv-00730 (W.D. Wash.); (20) Bath v. Travelers Cas. Ins. Co. of
Am., No. 3:20-cv-05489 (W.D. Wash.).
15
     See Border Chicken AZ LLC v Nationwide Mut. Ins. Co., No. 2:20-cv-00785 (D. Ariz.).
16
  See “State Data and Policy Actions to Address Coronavirus,” Kaiser Family Foundation,
supra.
17
  See (1) Caribe Rest. and Nightclub, Inc. v. Topa Ins. Co., No. 2:20-cv-03570 (C.D. Cal.); (2)
Pigment Inc. v. The Hartford Fin. Servs. Group, Inc. et al., No. 3:20-cv-00794 (S.D. Cal.); (3)
Kingray Inc. d/b/a La Quinta Beer Hunter v. Farmers Group Inc. et al., No. 5:20-cv-00963
(C.D. Cal.); (4) Nari Suda LLC et al. v. Oregon Mut. Ins. Co., No. 3:20-cv-3057 (N.D. Cal.); (5)
O’Brien Sales and Mktg., Inc. v. Transp. Ins. Co., No. 3:20-cv-02951 (N.D. Cal.); (6) Mortar
and Pestle Corp. d/b/a Olea Restaurant v. Atain Specialty Ins. Co. a/k/a Atain Ins. Co., No. 3:20-
cv-03461 (N.D. Cal.).
18
     See Promotional Headwear Int’l v. Cincinatti Ins. Co., Inc., No. 2:20-cv-02211 (D. Kan.).


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limited dine-in services.19 States even vary on which businesses are considered essential—

businesses such as florists, liquor stores, and golf courses are deemed essential in some states

and non-essential in others.20 And how the same types of businesses, even within the same state,

interpret and respond to these orders can vary vastly. One business may consider itself essential

while a similar business deems itself non-essential. And some businesses have opted to close or

declined to reopen even without a closure order or as restrictions are lifted.

       Thus, contrary to movants’ assertions, the various governmental orders do not create any

common issues of fact.

               4.      Plaintiffs Will Have to Prove Individualized Facts

       Regardless of any allegedly common policy language, a court resolving plaintiffs’

coverage claims will be required to apply the policies’ specific language to facts unique to each

policyholder. As noted, plaintiffs themselves cannot agree on the common facts to which the

relevant policy language should be applied. Still, each policyholder bears the burden of

establishing coverage, which will necessarily involve individual facts. For example, even apart

from whether the mere presence of coronavirus on property can cause physical damage, each

policyholder pursuing this theory (as opposed to those claiming a virus did not cause their losses)

will have to prove, among other things, the presence of the virus at the business’s specific

location—an individualized determination. Although one movant has suggested policyholders

can establish the presence of the virus through a statistical analysis, that is unlikely to be a viable



19
  See “State Data and Policy Actions to Address Coronavirus,” Kaiser Family Foundation,
supra.
20
   See Scottie Andrew, “What constitutes ‘essential businesses’? States seem to have varying
standards,” CNN, March 26, 2020, available at
https://www.cnn.com/2020/03/25/business/essential-businesses-states-coronavirus-
trnd/index.html.


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basis for policyholders to satisfy their burden of proof, and that argument is belied by the

widespread lockdown orders and the shortage of available tests. If we could easily determine

where the virus is located and who has it with statistics, closures could be limited to impacted

premises, quarantine orders directed to infected individuals, and broad closure and stay-at-home

orders rendered unnecessary.

        Likewise, if courts need to reach the question of whether any of the various (and often

contradictory) orders prohibited access to the insured premises, that likely will be an

individualized determination that depends on, among other factors, the exact wording of the

order in place at each location and its exact effect on each policyholder. If courts need to

determine what caused the civil authority to issue the order in applying the policy provision, that

also may require individualized determinations and, where necessary, fact-finding. Indeed, one

policyholder that supports centralization only if its own localized dispute is not moved from its

home district concedes that the cases movants seek to consolidate have “significant differences,”

including separate insurance policies “which will be worded differently to varying degrees” and

different “state’s laws governing contracts and insurance policies,” and anticipates that “each

state’s lockdown [will] be[] constructed differently, and impact[] each plaintiff differently.”

(Dkt. 19 at 3.)21




21
   Some movants contend that the Panel has previously centralized actions involving insurance
disputes, (see Dkt. 189 at 3), but the cases they cite involve entirely distinguishable facts. In In
re Peanut Crop Insurance Litigation, the Panel centralized actions alleging that “common
defendants” unlawfully and unilaterally modified a multiple peril crop policy. 342 F. Supp. 2d
1353, 1354 (J.P.M.L. 2004). In In re Portfolio Recovery Associates, LLC, Telephone Consumer
Protection Act Litigation, the Panel centralized actions alleging that a “common defendant”
violated the federal Telephone Consumer Protection Act—actions that did not involve coverage
disputes at all. 846 F. Supp. 2d 1380, 1380-81 (J.P.M.L. 2011). Neither case involved coverage
actions brought by different policyholders seeking to recover individualized losses under policies
issued by different defendants, as movants seek to centralize here.


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       B.      Transfer Will Not Be More Convenient for the Parties and Witnesses

       Different movants contend that the Actions should be transferred to the Eastern District

of Pennsylvania (Dkt. 1-1 at 10), the Northern District of Illinois (Dkt. 4 at 11), and the Southern

District of Florida (Dkt. 9 at 5), respectively, but none has shown that centralization in any of

these districts (or in any other district) would be more convenient for the parties and witnesses.

        That is because each of the approximately 116 insurer defendants is involved in a small

percentage of the 133 Actions at issue—Westchester and IINA each is a defendant in two—and

centralization would be demonstrably inconvenient for defendants and their witnesses. In re

Proton-Pump Inhibitor Prods. Liab. Litig., 273 F. Supp. 3d 1360, 1361-62 (J.P.M.L. 2017)

(noting “named defendants vary from action to action” and “centralization thus appears unlikely

to serve the convenience of most, if not all, defendants and their witnesses”); see also In re

Ambulatory Pain Pump Chondrolysis Prods. Liab. Litig., 709 F. Supp. 2d 1375, 1377 (J.P.M.L.

2010) (denying centralization of 102 actions where “[m]ost, if not all, defendants [were] named

in only a minority of actions; and several defendants [were] named in but a handful of actions”);

In re Table Saw Prods. Liab. Litig., 641 F.Supp.2d 1384, 1385 (J.P.M.L. 2009) (denying

centralization of 42 actions, where “[n]o defendant [was] sued in all actions, and several

entities . . . [were] named in, at most, two or three of them”).

       Centralization would unnecessarily uproot localized disputes. Truhaven and Beniak, for

example, both involve a policy issued in New Jersey to a New Jersey business, and discovery is

likely to be concentrated in New Jersey. Cafe International, meanwhile, involves a policy issued

in Florida to a Florida business, and discovery is likely to be located in Florida. Transferring

these actions out of the forum where discovery is localized to another forum such as the Eastern

District of Pennsylvania, the Northern District of Illinois or, for actions other than Cafe

International, the Southern District of Florida, would significantly inconvenience the parties and


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witnesses. See In Re 21st Century Prods. Inc. “Thrilsphere” Contract Litig., 448 F. Supp. 271,

272 (J.P.M.L. 1978) (denying motion to transfer New Jersey action against New Jersey

defendants for consolidation in the Southern District of Florida because transfer would not serve

the convenience of the parties and witnesses or promote the just and efficient conduct of

litigation); In re Monsanto, 176 F. Supp. 3d at 1380 (denying motion to transfer because

centralization was not necessary for the convenience of the parties and witnesses where factual

questions relating to alleged contamination of different bodies of water were likely to differ); In

re Rely Tampon Prods. Liab. Litig., 533 F. Supp. 1346, 1347 (J.P.M.L. 1982) (denying motion to

transfer because centralization would not promote convenience where individual questions of

fact predominated over common questions of fact). One plaintiff, Sandy Point Dental, an Illinois

dental business, made this point in its Response in Partial Support of the Motions, in which it

“objects to changing the venue to the Southern District of Florida, or anywhere outside of the

Northern District of Illinois.” (Dkt. 19 at 2.) Just as Sandy Point Dental would be

inconvenienced by an order moving its coverage case, dozens of other parties with disputes

centered elsewhere (including Westchester and IINA), would be inconvenienced by an order

displacing theirs.22

       C.      Transfer for Coordination or Consolidation Will Not Promote Justice and
               Efficiency

         Movants summarily assert that centralization will avoid unspecified duplicative

discovery. (See Dkt. 1-1 at 10; Dkt. 4-1 at 10; Dkt. 9 at 4-5.) Although movants claim that

every case will require similar types of evidence, such as expert testimony about the “likely



22
  Though movants’ counsel may prefer centralization, the Panel does not consider the
convenience of counsel unless counsel’s preferred district would also serve the interests of the
parties and witnesses. In re Anthracite Coal Antitrust Litig., 436 F. Supp. 402, 403 (J.P.M.L.
1977).


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presence and impact” of the virus, (Dkt. 4-1 at 6-7), to the extent any claims survive Rule 12

motions, resolving those claims will, as explained above, necessarily implicate the particular

circumstances in each case—such as the details of the relevant civil authority and the type of

business making the claim. Since each insurer issued different policies to different insureds, if

any discovery is necessary in these cases, discovery directed to one insurance company will have

no relevance to the cases against other insurance companies. See In re: Healthextras Ins. Mktg.

and Sales Practices Litig., 24 F. Supp. 3d 1376, 1377 (J.P.M.L. 2014) (centralization would not

promote convenience and efficiency because issues pertaining to certain New Jersey policies

would have no bearing on issues pertaining to certain Texas policies); In re Proton-Pump

Inhibitor Prods. Liab. Litig., 273 F. Supp. 3d at 1362 (denying initial motion for centralization of

actions against multiple defendants because “a significant amount of the discovery in these

actions appears almost certain to be defendant-specific”); In re: Great West, 176 F. Supp. 3d at

1372 (denying motion to transfer actions alleging that insurance company denied coverage of

claims because the only potentially overlapping duplicative discovery was “underwriting files”

and “all writing correspondence”).

       If any potentially “overlapping” discovery arises, it can be addressed through alternative

means and does not warrant centralization. Litigants have many mechanisms available to

coordinate without transferring cases. For example, the parties could agree to share discovery

requests and responses through stipulations under Federal Rule of Civil Procedure 29 and

informal discovery procedures as necessary and appropriate. See Manual for Complex Litigation

§ 11.423 (4th ed. 2004). The parties could also agree to use master interrogatories or agree that

no party is required to answer duplicative requests. See id. at § 11.464; see also In re Ins. Cos.

“Silent” Preferred Provider Org. (PPO) Litig., 517 F. Supp. 2d at 1363 (denying motion to




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transfer actions “against different defendant insurance companies [involving] different contracts”

where “[a]lternatives to transfer exist that may minimize whatever possibilities there might be of

duplicative discovery and/or inconsistent pretrial rulings”). Defendants facing costly litigation

across the country will have every incentive to achieve efficiencies through discovery wherever

possible. But movants’ speculation that efficiencies can be achieved only through transfer and

coordination or consolidation is baseless and cannot overcome the many other reasons transfer is

clearly inappropriate here.

       Finally, movants ignore the inefficiency that would result from an MDL involving more

than 100 insurers from approximately 36 insurance groups. Every insurer would need (and have

a right) to be heard on every issue—including discovery and other pretrial rulings—affecting it.

The transferee court could not effectively implement a bellwether process, given the lack of

overlapping parties among the cases. Resolution of one case would not resolve any other. The

resulting proceeding would be unmanageable and delay would be inevitable. It is easy to see

why there is no precedent for an MDL like the one movants seek to create here.

IV.    CONCLUSION

       For all the foregoing reasons, the Panel should deny transfer of these Actions.




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